Case 3:51-cv-01247-JO-SBC Document 1-2 Filed 01/25/51 PagelD.197 Page1of1
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“ UNITED STATES SARL WARREN, GOVERNOR SAN ONOFRE BLUFF QUADRANGLE
’ —
%, DEPARTMENT OF THE INTERIOR C. H. PURCELL, DIRECTOR OF PUBLIC WORKS 7s a een ine (TOPOGRAPHIC) oe
4s GEOLOGICAL SURVEY EDWARD HYATT, STATE ENGINEER _ : 17°30!
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Mapped, edited, and published by the Geological Survey © Irrigation or camp supply

Control by USGS and USC & GS

Topography from aerial photographs by multiplex methods
Aerial photographs taken 1946 Field check, 1948
Polyconic projection. 1927 North American datum
10,000-foot grid based on California coordinate system,
zone 6

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Destroyed

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DATUM IS MEAN SEA LEVEL
SHORELINE SHOWN REPRESENTS THE APPROXIMATE LINE OF MEAN HIGH WATER
THE AVERAGE RANGE OF TIDE 1S APPROXIMATELY 4 FEET

TRUE NORTH

APPROXIMATE MEAN
INATION, 1948
DECL THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS

FOR SALE BY U. S. GEOLOGICAL SURVEY, WASHINGTON 285, D. C.

Sheet Seven (7) of Eight (8)
ROAD CLASSIFICATION Qe

HARD-SURFACE ALL WEATHER ROADS DRY WEATHER ROADS YW
Heavy-duty... ———. SSAREiS4AN5 improved dirt... acannon
Medium-duty.— “SAN EIS S48" Unimproved dirt_.cea= os &

Loose-surface, graded, or narrow hard-surfacem wm
Dv. S. Route OsState Route

SAN ONOFRE BLUFF, CALIF.
N3315—W11730/7 5

PRINTED 1949

